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                    9                  IN THE UNITED STATES DISTRICT COURT
                10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                11                                WESTERN DIVISION
                12
                        JEAN-JACQUES TSHINA                  Case No. 5:21-cv-509-RGK
                13      NZAMBI, an individual,
                                                             [PROPOSED] ORDER GRANTING
                14
                                  Plaintiff,                 JOINT STIPULATION FOR
                15                                           DISMISSAL
                        vs.
                16
                17      ADVANTAGE 360 SOFTWARE,
                        LLC, VOLARIS GROUP, INC., and
                18
                        DOES 1 through 25, inclusive
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                                  Defendants.
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ON RECYCLED PAPER

                                  [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL
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                    1                                 [PROPOSED] ORDER
                    2         The STIPULATION FOR DISMISSAL is approved. Plaintiff Jean-Jacques
                    3   Tshina Nzambi’s claims against Defendant Advantage 360 Software, LLC as
                    4   alleged in this lawsuit are dismissed with prejudice, with the costs and attorneys’
                    5   fees taxed against the party incurring the same.
                    6         IT IS SO ORDERED.
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                    9   DATED: October 26, 2021                ____________________________________
                                                               THE HON. R. GARY KLAUSNER
                10                                             UNITED STATES DISTRICT JUDGE
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                                     [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL
